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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 MARILI RASAY,
 101 G. Street, S.W.
 A 107
 Washington DC 20006
                                                        Case No. _1:22-cv-00449____
                         Plaintiff,
            v.                                          [D.C. Superior Court No. 2021 CA 004788B]
 PEPPERIDGE FARM INCORPORATED,
 595 Westport Ave.
 Norwalk, CT 06851
                   Respondent.


                               DEFENDANT’S NOTICE OF REMOVAL
       Defendant Pepperidge Farm Incorporated (“Pepperidge Farm”), through counsel and

pursuant to 28 U.S.C. §§ 1332(a) and 1446, hereby removes this action from the Superior Court

of the District of Columbia to the United States District Court for the District of Columbia. The

grounds for removal are as follows:

I.     BACKGROUND
       1.        On December 20, 2021, Marili Rasay (“Plaintiff” or “Rasay”), on her own behalf

and on behalf of the General Public of the District of Columbia, filed a complaint against

Pepperidge Farm in the Superior Court for the District of Columbia, styled Rasay v. Pepperidge
Farm Incorporated, Case No. 2021 CA 004788B. Rasay served via personal service a copy of

the summons and Complaint on Pepperidge Farm on January 19, 2022. A true and correct copy

of the summons and Complaint is included in the attached Exhibit A.

       2.        Plaintiff sets forth two claims under the District of Columbia Consumer

Protection Procedures Act (“CPPA”) and generally alleges that the labeling and marketing of

Defendant’s golden butter crackers as being made with “butter” or “real butter” deceives

consumers. (Ex. A, Summons and Complaint).

       3.        Plaintiff seeks various types of relief including (A) statutory or actual damages,

trebled, for plaintiff, disclaiming any damages in excess of $74,000; (B) attorneys’ fees; (C) an

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injunction against the Defendant’s violations of the CPPA; (D) equitable relief “in excess of

$10,000”; and (E) any other relief this court deems just and proper. (Ex. A, Civil Case Cover

Sheet; Complaint, Prayer for Relief.)

II.     REMOVAL IS TIMELY
        4.      Pepperidge Farm has timely removed this action within thirty (30) days of

service. Rasay served the summons and Complaint to Pepperidge Farm on January 19, 2022.

(See Ex. B, Superior Court Docket.) Notice of removal “shall be filed within thirty days after the

receipt by the defendant, through service or otherwise, of a copy of the initial pleading setting

forth the claim upon which such action or proceeding is based.” 28 U.S.C. § 1446(b).

Accordingly, Pepperidge Farm’s Notice of Removal is timely because it was filed on or before

February 18, 2022, within thirty days of the January 19, 2022 service date.

        5.      No previous Notice of Removal has been filed or made with this Court for the

relief sought herein.

III.    THIS COURT HAS ORIGINAL JURISIDICTION UNDER 28 U.S.C. § 1332(a)
        6.      This Court has original jurisdiction under 28 U.S.C. § 1332(a), because this case:

(i) involves citizens of different States; and (ii) the amount of controversy in this matter exceeds

the sum or value of $75,000.


        A.      Diversity of Citizenship Exists
        7.      Plaintiff’s Complaint alleges that Rasay is a resident of the District of Columbia.

(Ex. A ¶ 11.) Plaintiff is therefore a citizen of the District of Columbia for purposes of diversity

jurisdiction.




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       8.      When analyzing diversity jurisdiction, “a corporation is a citizen of its place of

places of incorporation, as well as its principal place of business.” CostCommand, LLC v. WH

Administrators, Inc., 820 F.3d 19, 21 (D.C. Cir. 2016).

       9.      Pepperidge Farm is a Connecticut corporation with its headquarters and principal

place of business at 595 Westport Avenue, Norwalk, Connecticut.

       10.     Because Plaintiff is a citizen of the District of Columbia and Defendant is a

citizen of Connecticut, the complete diversity requirement of 28 U.S.C. § 1332 is satisfied.

       B.      The Amount in Controversy Exceeds $75,000.

       11.     The amount in controversy requirement of 28 U.S.C. § 1332 is also satisfied.

       12.     “[A] defendant’s notice of removal need include only a plausible allegation that

the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating

Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014). “Evidence establishing the amount is required by

§ 1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant’s

allegation.” Id.; see also 28 U.S.C. § 1446(c)(2)(A)(ii).

       13.     Courts analyzing the amount of controversy requirement for CPPA claims

consider the value of (i) statutory damages; (ii) attorney fees; (iii) punitive damages; and (iv) the

cost of an injunction. See, e.g., Zuckman v. Monster Beverage Corp., 958 F. Supp. 2d 293, 297

(D.D.C. 2013).

       14.     Plaintiff’s Complaint states that plaintiff is seeking (i) “statutory or actual

damages, trebled, for Plaintiff, except that she disclaims any damages in excess of $74,000,”

(ii) “equitable relief in excess of $10,000,” and (iii) attorneys’ fees. (Ex. A, Civil Cover Sheet;

Prayer for Relief.)

       15.     Thus, the amount in controversy element is satisfied in this case for purpose of

diversity jurisdiction, and solely for that purpose.

       16.     For all of these reasons, this Court has original jurisdiction pursuant to 28 U.S.C.

§ 1332(a) and this case is removable pursuant to 28 U.S.C. 1441(a). Removal to this Court is

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appropriate because this judicial district embraces the district and division in which this case was

originally pending. 28 U.S.C. § 1446(a).

IV.    SUPERIOR COURT OF THE DISTRICT OF COLUMBIA PLEADINGS AND
       NOTICE
       17.     Pursuant to § 28 U.S.C. 1446(a), a copy of the current Superior Court of the

District of Columbia case docket is attached hereto as Exhibit B. A copy of all process,

pleadings, and orders served upon Pepperidge Farm is attached hereto as Exhibit A. The civil

cover sheet is also attached hereto as Exhibit A.

       18.     Pursuant to 28 U.S.C. § 1446(d), Pepperidge Farm will provide written notice of

the filing of this Notice to Plaintiff and a copy of this Notice will be filed with the Clerk of the

Superior Court of the District of Columbia. The Notice of Filing of Notice of Removal to be filed

with the Superior Court is attached hereto as Exhibit C.

V.     RESERVATION OF RIGHTS/DENIAL OF LIABILITY
       19.     Nothing in this Notice is intended to or should be construed as any tope of express

or implied admission by Pepperidge Farm of any fact alleged by Plaintiff, of the validity or

merits of any Plaintiff’s claims and allegations, or of any liability for the same, each and all of

which are expressly denied, or as to any type of express or implied waiver or limitation of any of

Pepperidge Farm’s rights, claims, remedies, and defenses in connection with this action, all of

which are hereby expressly reserved.

       20.     WHEREFORE, Defendant Pepperidge Farm respectfully requests that the above-

captioned action now pending in the Superior Court of the District of Columbia be removed to

this United States District Court for the District of Columbia.




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Dated: February 18, 2022                 Respectfully Submitted,

                                         By: /s/ Colleen M. Campbell
                                         Colleen M. Campbell (D.C. Bar 219082)
                                         MAYER BROWN LLP
                                         1999 K Street, NW
                                         Washington, DC 20006
                                         Ph. (202) 263-3413
                                         Fax (202) 263-3300
                                         ccampbell@mayerbrown.com

                                         Dale J. Giali (pro hac vice forthcoming)
                                         Keri E. Borders (pro hac vice forthcoming)
                                         MAYER BROWN LLP
                                         350 S. Grand Ave., 25th Floor
                                         Los Angeles, CA 90071
                                         Ph. (213) 229-9500
                                         Fax (213) 625-0248
                                         dgiali@mayerbrown.com
                                         kborders@mayerbrown.com

                                         Attorneys for Defendant Pepperidge Farm
                                         Incorporated




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on February 18, 2022

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

parties and counsel of record by operation of the Court’s CM/ECF system.


                                                    /s/Colleen M. Campbell




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